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James Garretson (00:00):
Hello.

Matthew Bryant (00:03):
Y'all get lost? I saw you at the intersection 15 minutes ago.

James Garretson (00:07):
You didn't see me, I haven't been anywhere.

Matthew Bryant (00:09):
Damn, James, I called the wrong James, [crosstalk 00:00:13].

James Garretson (00:14):
Hey, how'd it go? You done?

Matthew Bryant (00:16):
Good. Good. Uh, I don't know about done, but uh, we had a few good days so ...

James Garretson (00:22):
Okay.

Matthew Bryant (00:22):
Knock on some wood.

James Garretson (00:24):
All right.

Matthew Bryant (00:24):
Knock on some wood and ignore everybody, that's my only advice.

James Garretson (00:30):
You're good.

Matthew Bryant (00:30):
All right, brother.

James Garretson (00:30):
All right, bye.

Matthew Bryant (00:30):
Holler at you.




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                                                                                 Exhibit 92
